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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               BEAUMONT DIVISION

ZANE LABARGE,

Plaintiff,                                           Case No. 1:19-cv-00231-MJT

        v.

DIVERSIFIED CONSULTANTS, INC. and
JEFFERSON CAPITAL SYSTEMS, LLC,

Defendants.

                                    NOTICE OF SETTLEMENT

        PLEASE TAKE NOTICE ZANE LABARGE (“Plaintiff”) hereby notifies the Court

that the Plaintiff and Defendants have settled all claims between them in this matter and are in

the process of completing the final closing documents and filing the dismissal. The Parties

anticipate this process to take no more than 60 days and request that the Court retain

jurisdiction for any matters related to completing and/or enforcing the settlement. The Parties

propose to file a stipulated dismissal with prejudice within 60 days of submission of this

Notice of Settlement and pray the Court to stay all proceedings until that time.


Respectfully submitted this 30th day of September 2019.




                                                       s/ Nathan C. Volheim
                                                       Nathan C. Volheim, #6302103
                                                       Sulaiman Law Group, Ltd.
                                                       2500 S. Highland Avenue, Suite 200
                                                       Lombard, IL 60148
                                                       (630) 575-8181 x113
                                                       nvolheim@sulaimanlaw.com
                                                       Attorney for Plaintiff



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                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system, which will be sent to all attorneys of

record.


                                                               s/ Nathan C. Volheim
                                                               Nathan C. Volheim




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